       Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 1 of 9



                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


MILES MORAN and GERARD TAYLOR,
for themselves and all others similarly
situated,

Plaintiffs,                                    Case No. 19-cv-13553-EEF-MBN
                                               Consolidated with 20-cv-1275
v.                                             (This filing pertains only to Matthews v.
                                               Herman, 20-cv-01275
KEVA LANDRUM-JOHNSON, Chief                    (Class Action)
Judge of Orleans Parish Criminal District
Court et al.,

Defendants.
____________________________________
       REPLY MEMORANDUM IN SUPPORT OF DEFENDANTS’ FRCP MOTION TO DISMISS
        May It Please The Court:
        This reply memorandum is submitted by Defendants, Keva Landrum-Johnson, Paul

Bonin, Camille Buras, Darryl Derbigny, Tracey Flemings-Davillier, Karen Herman, Hunter

Harris IV, Robin Pittman, Dennis Waldron, Laurie White, Benedict Willard, and Franz Zibilich

(“the Judges”) in support of their Motion to Dismiss Plaintiffs’ Original and Amended Class

Action Complaints for lack of subject matter jurisdiction pursuant to Federal Rule of Civil

Procedure 12(b)(1). In response to Plaintiffs’ incorporation of their arguments in Moran v.

Landrum-Johnson, 19-cv-13553, Defendants also incorporate their arguments in the Moran

memoranda supporting their motion to dismiss (ECF. No. 28 and No. 38) and in the May 27,

2020 oral arguments. Defendants further reply to the arguments made in Plaintiffs’ memorandum

in opposition to Defendants’ motion to dismiss in this case as follows:




{01096199 - v1}
         Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 2 of 9



   I.       The fact that the Plaintiffs had no plan to request and, in fact, did not request
            bail modification at their arraignment does not relate to mootness, but rather to
            their claims that they were in imminent danger of being subject to an
            unconstitutional bail modification hearing.
         Plaintiffs claim that, “at the moment they filed suit, they were about to be assigned at

random to one of the Defendants’ courts and presented to that court for a hearing that violated

their rights.” Doc. 59 at 2-3. They admit that this imminent future “hearing” is crucial to their

standing. Id.     The “hearing” that Plaintiffs claim was imminent was a bail modification hearing,

not a general arraignment hearing. However, at the time of filing, Plaintiffs had no plan

whatsoever to seek a bail modification, and indeed, did not ask for a bail modification at

arraignment. Their alleged injury from the challenged action – an unconstitutional bail

modification hearing – is not possible unless a bail modification hearing occurs in the first place.

In this case, the occurrence of that future bail modification hearing was purely conjectural.

Further, the fact that Plaintiffs had not requested and did not plan to request a future bail

modification has nothing to do with prosecutorial decisions. As a result, Plaintiffs’ argument that

future prosecutorial decisions cannot negate an imminent harm is a red herring because the lack

of an imminent or immediate harm in this case was a result of Plaintiffs’ own actions (or lack

thereof).

   II.      Plaintiffs do not have standing because, at the time the action was commenced,
            they did not face a concrete threat of being subject to an unconstitutional bail
            hearing, were not seeking pre-enforcement review of a criminal statute, and
            were not subject to discrimination as a result of an undisputed future plan or
            action.
         Plaintiffs rely on three types of cases in an attempt establish their standing. First, they

rely upon cases in which plaintiffs sought a declaratory judgment regarding private parties’

rights and duties under agreements or in connection with patents or trademarks when a threat of

litigation had been made pursuant to those instruments. See MedImmune, Inc. v. Genentech, Inc.,


{01096199 - v1}
      Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 3 of 9



549 U.S. 118 (2007) (defendant threatened plaintiff with a letter demanding royalties for a drug

defendant believed was subject to a patent and license agreement); Frye v. Anadarko Petroleum

Corp., 953 F.3d 285, 294 (5th Cir. 2019) (defendant threatened plaintiff with the enforcement of

a non-disclosure agreement if plaintiff disclosed an SEC whistleblower letter); Vantage Trailers

Inc. v. Beall Corp., 567 F.3d 745, 750 (5th Cir. 2009) (finding that a letter threatening legal

action weighed in favor of finding a controversy). Second, they rely on upon cases in which

plaintiffs sought pre-enforcement review of criminal statutes pursuant to which they could be

arrested if they exercised rights in violation of the challenged statutes. See Steffel v. Thompson,

415 U.S. 452 (1974) (plaintiff challenged a criminal statute pursuant to which he was threatened

with arrest for handbilling); Seals v. McBee, 898 F.3d 587 (5th Cir. 2018) (plaintiff challenged a

criminal statute pursuant to which he was arrested for making some form of threats to the

police). Third, they rely upon cases in which plaintiffs are unquestionably part of a group who

faced discrimination if the defendants were allowed to take action pursuant to an undisputed plan

or practice. Frame v. City of Arlington, 657 F.3d 215, 235–36 (5th Cir. 2011) (plaintiffs, as

disabled individuals, faced discrimination if the city was allowed to move forward with

undisputed plans for building sidewalks); Bailey v. Ryan Stevedoring Co., Inc., 613 F.2d 588 (5th

Cir. 1980) (plaintiff, a union member, faced discrimination as a result of the segregation of the

unions and the undisputed 50%-50% hiring rule). Unfortunately, none of these cited cases

support standing for these plaintiffs, who (1) have never been threatened by the defendant Judges

with an unconstitutional action, (2) do not challenge the criminal law pursuant to which they

were arrested, and (3) did not unquestionably face discrimination as a result of an undisputed

future plan or action.




{01096199 - v1}
      Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 4 of 9



       Supreme Court decisions relating to standing for a future injury, “have required that the

dispute be ‘definite and concrete, touching the legal relations of parties having adverse legal

interests’; and that it be ‘real and substantial’ and ‘admi[t] of specific relief through a decree of a

conclusive character, as distinguished from an opinion advising what the law would be upon a

hypothetical state of facts.’” MedImmune, 549 U.S. at 127 (quoting Aetna Life Ins. Co. v.

Haworth, 300 U.S. 227, 240-41) (1937). The Medimmune Court explained that when a defendant

lodges an actual threat to take civil or criminal action (“threat of harm”) against a plaintiff that

forces the plaintiff to choose “between abandoning his rights or risking prosecution [or civil

litigation],” there exists “a substantial controversy, between parties having adverse legal

interests, of sufficient immediacy and reality to warrant the issuance of a declaratory judgment.”

Id. at 127-129. The Medimmune plaintiff, who received a letter from the defendant demanding

royalties for what it considered to be patent infringement, elected to pay the demanded royalties

to avoid the injury she would face in a patent infringement suit by the defendant and seek a

declaratory judgment that she was not infringing upon the patent. See generally Id. In Frye, the

court reached a similar conclusion despite the fact that the defendant’s threat to plaintiff did not

use the word “litigation” finding that the defendant letter’s language, which “reserve[d] all of its

rights, including but not limited to its rights under both the PIIA and applicable law, to enforce

the agreement or seek a remedy for any breach” implied a threat of litigation. .” Frye, 953 F.3d at

295. Plaintiffs misconstrue Frye to stand for the broad idea that the “threat of injury need not be

explicit to create a case or controversy; rather, it may be “indirect or implicit or covert’” R. Doc.

34 at 8 (citing Frye, 953 F.3d at 295). However, they ignore the requirement of an actual

concrete threat, whether implicit or explicit, in attempting to apply Frye’s holding to support

Plaintiffs’ standing in this case. Plaintiffs’ complaint does not allege that the Defendant Judges




{01096199 - v1}
       Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 5 of 9



threatened them with an unconstitutional bail hearing in an attempt to induce them to refrain

from exercising their rights. How could they have? When the action was commenced, neither

plaintiff had a case pending before any of the Defendant Judges.

        Even if this Court departs from the concrete threat requirement and accepts that Plaintiffs

faced some abstract threat from the Defendant Judges, “threats of legal action, alone, cannot

create an actual controversy under the Declaratory Judgment Act . . . [the plaintiff] must still

demonstrate that the controversy was sufficiently immediate and real.” Vantage Trailers, Inc. v.

Beall Corp., 567 F.3d 745, 751 (5th Cir. 2009) (citing Scholle Corp. v. Blackhawk Molding Co.,

Inc., 133 F.3d 1469, 1472 n. 1 (Fed.Cir.1998)). In Vantage, though the Court noted that the

defendant’s threat of legal action for trademark infringement weighed in favor of finding a case

or controversy, it nevertheless agreed with the district court that the plaintiff did not have

standing because it “did not have a substantially fixed and definite trailer design when it filed the

action.” Vantage Trailers, Inc. v. Beall Corp., 567 F.3d 745, 749 (5th Cir. 2009). Similarly,

when the plaintiffs filed this action, they had no fixed and definite plan to seek a bail

modification from any of the Defendant Judges. Neither Plaintiff had requested bail modification

from any of the Defendant Judges at the time the action commenced. See R. Docs. 53-4 and 53-5

(revealing that there were no pending matters relating to bail).

        Plaintiffs also cannot rely upon cases in which plaintiffs had standing to seek “pre-

enforcement review of a criminal statute.” Holder v. Humanitarian L. Project, 561 U.S. 1, 15

(2010). Though Matthews and Cloud attempt to squeeze into the shoes of the Steffel and Seals

plaintiffs, they simply do not fit. See generally Steffel, 415 U.S. 452; Seals, 898 F.3d 587. Both

Steffel and Seals challenged a criminal statute pursuant to which they faced future prosecution.

In Steffel the court explained in detail threat of future prosecution that plaintiff faced:


{01096199 - v1}
       Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 6 of 9



                  [P]etitioner has alleged threats of prosecution that cannot be
                  characterized as ‘imaginary or speculative,’ . . . He has been twice
                  warned to stop handbilling that he claims is constitutionally
                  protected and has been told by the police that if he again handbills
                  at the shopping center and disobeys a warning to stop he will likely
                  be prosecuted. The prosecution of petitioner's handbilling
                  companion is ample demonstration that petitioner's concern with
                  arrest has not been ‘chimerical,’ . . . In these circumstances, it is
                  not necessary that petitioner first expose himself to actual arrest or
                  prosecution to be entitled to challenge a statute that he claims
                  deters the exercise of his constitutional rights . . . Moreover,
                  petitioner's challenge is to those specific provisions of state law
                  which have provided the basis for threats of criminal prosecution
                  against him.
Steffel, 415 U.S. at 459. Like the private rights cases discussed supra, Steffel was actually

threatened with arrest. In addition, he was challenging the constitutionality of the criminal

statutes pursuant to which those threats were made. See generally Id. In Seals, the plaintiff was

actually arrested (as opposed to threatened) pursuant to the challenged statute, and though the

district attorney had informally agreed to forego prosecution, Seals alleged injury was a direct

result of the criminal statute underlying his arrest. See generally Seals v. McBee, 898 F.3d 587.

Here, Matthews and Cloud are not challenging the criminal statutes underlying their arrests and

initial detention.

        Finally, cases in which plaintiffs unquestionably faced injury caused by the future

execution of an undisputed plan or policy do not support Plaintiffs’ argument for standing. Both

Frame v. City of Arlington and Bailey v. Ryan Stevedoring Co., Inc. involve the future execution

of undisputed plans or policies that would cause injury to plaintiffs. In Frame, there was no

question about the city’s plans to build the sidewalks, which the disabled plaintiffs alleged

violated federal law and caused them future injury by, “negatively affect[ing] their day-to-day

lives by forcing them to take longer and more dangerous routes to their destinations.” Frame,



{01096199 - v1}
      Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 7 of 9



657 F.3d at 235–36. In Bailey, there was no doubt that the existing segregation of the labor

unions combined with the established “50%-50% hiring rule” posed a future threat of injury to

the plaintiff, who was a union member. Bailey, 613 F.2d at 591. In both Frame and Bailey, the

existence of the challenged plan (to build sidewalks) and policies (segregation plus the hiring

rule) were not in dispute. Here, the alleged unconstitutional policies and procedures which

plaintiffs allege will cause them future injury are in dispute. The dispute about the existence of

unconstitutional bail hearing procedures (regardless of whether they exist or not) affects the legal

standing injury, because it introduces uncertainty regarding whether the plaintiffs face a concrete

and particularized injury and distinguishes these plaintiffs from Frame and Bailey, both who

challenged the future execution of established undisputed practices. In addition, unlike Frame

and Bailey, whose alleged injuries as disabled persons and a union member respectively, did not

rely upon future hypothetical events – they were already members of the group of people who

were affected by future execution of undisputed plans and policies when they filed suit –

Matthews and Cloud were not criminal defendants with pending cases in any of the Defendant

Judges divisions of court when they filed suit. Matthews and Cloud are more comparable to the

plaintiffs “[i]n East Texas Motor Freight System, Inc. v. Rodriguez, . . . who lacked the requisite

standing to assert that a “no-transfer” employment practice of their employer violated Title VII

because they did not possess the necessary qualifications for the positions to which they had

requested transfer.” Bailey, 613 F.2d at 590. At the time this suit was filed, Plaintiffs too did not

possess the “necessary qualifications,” namely criminal defendants with pending bail

modification motions in the defendant Judges courtroom, to challenge the defendant Judges’ bail

hearing procedures.




{01096199 - v1}
      Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 8 of 9



   III.      Plaintiffs cannot rely upon potential class members’ standing; instead, they must
             establish that they have standing to represent the proposed class.
          Plaintiffs seemingly argue that the fact that they are seeking to represent a class

strengthens the named plaintiffs’ standing. See. R. Doc. 34-17-18. It does not. The Supreme

Court has held that “if none of the named plaintiffs purporting to represent a class establishes the

requisite of a case or controversy with the defendants, none may seek relief on behalf of himself

or any other member of the class.” O'Shea v. Littleton, 414 U.S. 488, 494 (1974). Pursuant to

Article III of the Constitution, federal courts may only hear matters that present a justiciable case

or controversy. U.S. Const. III, § 2. “That a suit may be a class action ... adds nothing to the

question of standing, for even named plaintiffs who represent a class must allege and show that

they personally have been injured, not that injury has been suffered by other, unidentified

members of the class to which they belong.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547, n 6

(2016), as revised (May 24, 2016) (citing Simon v. Eastern Ky. Welfare Rights Organization, 426

U.S. 26, 40, n. 20 (1976)) (internal quotations omitted).

          In addition, Plaintiffs’ unsupported allegations that the Defendant Judges will follow

established court-wide policies and procedures when making bail determinations does nothing to

confer individual standing to the named defendants against all of the Defendant Judges. In order

to support a class action based upon a theory of court-wide policies and procedures allegedly

utilized by all the Defendant Judges, the plaintiffs must present significant proof of these alleged

court-wide unconstitutional bail hearing procedures. See generally Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 353, 358 (2011) (rejecting the plaintiffs’ anecdotal and statistical evidence

as “significant proof” that Wal-Mart “operated under a general policy of discrimination” as

required “to certify a companywide class”). Wal-Mart is applicable here because plaintiffs rely

on a court-wide policy to bring federal litigation against all the Judges knowing that the named-


{01096199 - v1}
       Case 2:19-cv-13553-EEF-MBN Document 62 Filed 08/04/20 Page 9 of 9



plaintiffs’ cases can only possibly be assigned to two Judges, at most. The Wal-Mart court made

clear that this type of policy-based class action litigation cannot rest on allegations and anecdotal

and statistical evidence, but requires “significant proof” that such a policy exists. Id.


    IV.      Conclusion
          For the reasons discussed herein and in Defendants’ original memorandum in support of

this motion to dismiss, Defendants, Keva Landrum-Johnson, Paul Bonin, Camille Buras, Darryl

Derbigny, Tracey Flemings-Davillier, Karen Herman, Hunter Harris IV, Robin Pittman, Dennis

Waldron, Laurie White, Benedict Willard, and Franz Zibilich, respectfully request that this Court

grant this motion and dismiss Plaintiffs’ Class Action Complaint for lack of subject matter

jurisdiction.

                                                     Respectfully submitted,

                                                     /s/ Mindy Nunez Duffourc
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                                  CERTIFICATE OF SERVICE
          I hereby certify that on the 3rd day of August 2020, a copy of the foregoing pleading has

been forwarded to all counsel of record via CM/ECF filing through the United States District

Court system, email and/or United States Mail.

                                               /s/ Mindy Nunez Duffourc
                                               _______________________________________




{01096199 - v1}
